         Case 2:07-cv-08108-FMO-SH Document 656 Filed 11/27/18 Page 1 of 2 Page ID #:33351



                    1
                    2
                    3
                    4
                    5
                    6
                    7
                    8
                                             UNITED STATES DISTRICT COURT
                    9                       CENTRAL DISTRICT OF CALIFORNIA
                                                  WESTERN DIVISION
                   10
                        Alfred E. Mann Foundation For    Case No. 2:07-cv-08108-FMO-SH
                   11   Scientific Research, et al.,
                                                         ORDER AWARDING PLAINTIFF
                   12                      Plaintiffs,   ALFRED E. MANN FOUNDATION
                                                         FOR SCIENTIFIC RESEARCH’S
                   13                vs.                 TAXABLE COSTS
                   14   Cochlear Corporation, et al.,    Judge: Hon. Fernando M. Olguin
                   15                      Defendants.
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                             ORDER RE AMF’S COSTS; Case No. 2:07-
  SILICON VALLEY
                                                         1                     cv-08108-FMO-SH
         Case 2:07-cv-08108-FMO-SH Document 656 Filed 11/27/18 Page 2 of 2 Page ID #:33352



                    1         Upon consideration of the Stipulation of Plaintiff Alfred E. Mann Foundation
                    2   for Scientific Research (the “Foundation”) and Defendants Cochlear Corporation
                    3   and Cochlear Ltd. (collectively, “Cochlear”) that the Foundation is entitled to
                    4   recover certain taxable costs pursuant to Federal Rule of Civil Procedure 54(d), 28
                    5   U.S.C. § 1920, and Civil Local Rule 54, the Court hereby orders that the following
                    6   costs be awarded to the Foundation:
                    7                                Taxable Costs                                 Amount
                    8     Fees of the Clerk, 28 U.S.C. § 1920(1) and Civil Local Rule 54-3.1        $350.00
                          Hearing and Trial Transcripts, 28 U.S.C. § 1920(2) and Civil Local
                    9     Rule 54-3.4                                                             $14,017.04
                   10     Meet and Confer Transcripts, 28 U.S.C. § 1920(2) and Civil Local
                          Rule 54-3.4                                                             $13,794.59
                   11     Deposition Transcripts, 28 U.S.C. § 1920(2) and Civil Local Rule
                   12     54-3.5                                                                  $37,355.71
                          Master's fees, Civil Local Rule 54-3.9                                  $84,727.53
                   13
                          Document Reproductions for Jury and Bench Trial, 28 U.S.C. §
                   14     1920(4) and Civil Local Rule 54-3.10                                    $43,529.22
                          Exemplifications/Trial Graphics, 28 U.S.C. § 1920(4) and Civil
                   15
                          Local Rule 54-3.12                                                      $56,521.73
                   16     Witness Expenses, 28 U.S.C. § 1821 and Civil Local Rule 54-3.6           $4,956.00
                   17     Total                                                                  $255,251.82
                   18
                   19   IT IS SO ORDERED.

                   20   Dated:        November 27, 2018                            /s/
                   21                                              HON. FERNANDO M. OLGUIN
                                                                   UNITED STATES DISTRICT JUDGE
                   22
                   23
                   24
                   25
                   26
                   27
                   28
MORGAN, LEWIS &
 BOCKIUS LLP                                                            ORDER RE AMF’S COSTS; Case No.
 ATTORNEYS AT LAW
  SILICON VALLEY
                                                               2                  2:07-cv-08108-FMO-SH
